1. "No particular or formal phrase is required to create a contract of suretyship. Courts may disregard formal expressions, to ascertain the real intent of the parties, and the form of the contract is immaterial, provided the fact of suretyship exists. Code, § 103-104. The mere use of the word `guarantee' will not make a contract one of guaranty."
2. A rule for distinguishing contracts of suretyship and guaranty is stated thus: "The surety says to the creditor, if your debtor will not pay, I will pay. The guarantor says to him, proceed first against the principal, and if he should not be able to pay, then you may proceed against me. It has been said that there is no instance in the books of a guarantor contracting jointly with his principal. Much has been written upon this subject, but we think the above the true distinction between the two classes of contracts." Manry v. Waxelbaum, 108 Ga. 14, 18 (33 S.E. 701).
3. Measured by these rules we think it clear that each of the contracts in this case is one of suretyship and not of guaranty, and that the defendants' demurrer based on the contention that they were guarantors, was properly overruled.
4. The undertaking of the surety being stricti juris, he can not, either in law or equity, be bound further or otherwise than he is by the very terms of his contract. Held: (a) The second contract here was not *Page 874 
a novation of the first contract within the meaning of section 103-202 of the Code.
(b) Nor was it inconsistent with the first contract, and did not increase the risk of the surety so as to release him under the provisions of section 103-203.
5. A party may always join with an account stated a count for the original debt, and if he fails on the one he might recover on the other. Goings v. Patten, 17 Abbott 339, 341. The court here did not err in allowing the amendment over the sole objection, that the amendment set out a new and distinct cause of action.
6. Where "proof was made that from correspondence with the firm the witness was acquainted with the handwriting, and that the letters were theirs, received by due course of mail, this was enough to admit them." Pearson v. McDaniel, 62 Ga. 101.
7. The book of the seller (the plaintiff), containing the account of the buyer, was admissible in evidence on behalf of the plaintiff, where the evidence of the vice-president and the auditor would have authorized a finding that the book tendered was the book of original entry, kept by the person whose duty it was to record, and who did record, the entries therein in the regular course of business; and that the letters tendered in evidence, with their admission of the correctness of the account, were admissible, for they would have authorized a finding that the books were free from suspicion of fraud, and were correctly kept.
8. Loose-leaf ledger sheets containing a record of the account between the parties are here treated as a book, "since such leaves or sheets may be removed from the ledger containing them and introduced in evidence upon the same footing and under the same principles as are applicable to the introduction of books of account, where the proper foundation of such evidence is otherwise laid." Crump v. Bank of Toccoa, 41 Ga. App. 505, 507 (153 S.E. 531).
9. A plaintiff, relying on an account stated, if he fails to prove that it was mutually adjusted, and the balance ascertained, may fall back upon the accounts and prove that there is, in fact, a balance due him, unless his pleading is so framed as to show that he relies solely on the account stated, for, that being made the sole issue, the other party might come unprepared to try any other.
10. In the present state of the pleading, as against the objection urged, it was error to exclude from the evidence the book of account of the seller, containing the account of the buyer, as well as the letters containing admissions of the correctness of the book and the debt sued on.
      DECIDED DECEMBER 1, 1944. REHEARING DENIED DECEMBER 13, 1944.
Suit was brought by the W. T. Rawleigh Company against Hoke S. Williams as principal, and J. W. Overstreet, W. T. J. Davis, and J. W. Cato as sureties. Williams, the principal, and Cato, one of the sureties, were not served, and the suit proceeded against J. W. Overstreet and W. T. J. Davis. The latter having died, *Page 875 
W. G. Davis, his administrator, was by amendment made a party in his stead. The contract sued on was dated September 30, 1929, and expired December 31, 1930. On January 31, 1931, W. T. Rawleigh Company made another contract with Hoke S. Williams as principal and J. W. Cato and T. W. Forbes as sureties. This contract expired December 31, 1931. The suit, after the petition was amended, proceeded to trial against J. W. Overstreet and W. G. Davis, as administrator of W. T. J. Davis deceased, as sureties under the first contract, dated September 30, 1929. This contract is as follows: "(1) In consideration of the execution and acceptance of this agreement, and the covenants hereinafter expressed, the W. T. Rawleigh Company, an Illinois corporation, hereinafter called the seller, agrees to sell and deliver to the undersigned buyer f. o. b. Memphis, Tenn., at any other point agreed upon, such reasonable quantities of its products as the buyer may order for cash or on time, at current wholesale prices; also if desired will sell buyer an auto body, wagon, or sample cases, for cash, or partly for cash, or wholly on time, such as the buyer may choose from bulletins or other descriptions. (2) Buyer, in consideration of the agreements herein, agrees to pay said seller in full for all goods purchased under this contract by cash, or by installment payments satisfactory to the seller, at invoice prices and according to the terms and conditions thereof, and subject to such cash discounts, as may be shown in current discount sheets. (3) It is mutually agreed that either party may terminate this contract by written notice at any time, and when so terminated, all accounts between said buyer and seller shall become due and payable immediately. If this contract is not so terminated it shall expire on December 31, 1930; it being agreed that a new contract may be entered into for the succeeding year, but the refusal or neglect of the buyer to furnish an acceptable contract, or the refusal of the seller to accept such contract shall not in any way affect the payment of the account incurred hereunder. (4) If the business relations be terminated for any reason, the seller agrees to purchase from the buyer at wholesale prices current when goods are received, any merchantable products buyer may have on hand (sample cases, wagons, auto bodies, and discontinued products excepted) provided goods are returned promptly by prepaid freight to point designated by seller, and buyer agrees to pay the actual cost for receiving, *Page 876 
inspecting and overhauling same. (5) It is mutually understood and agreed that this is a contract of buyer and seller, and that the buyer is not the agent or representative of the seller for any purpose whatsoever, but is the sole owner and manager of his business, and that he expressly reserves the exclusive right to determine the price, terms and conditions upon which, and the place where, he will sell the merchandise he buys from the seller, it being mutually understood and agreed that when the seller delivers the merchandise f. o. b. to buyer at point of shipment, the merchandise becomes the property of the buyer and the seller retains no right, title, interest, or control over said merchandise; it being mutually and fully understood that the buyer is in business for himself and that the seller does not undertake in any way to control buyer in the conduct of his business. (6) With the express understanding that it shall impose no legal restrictions whatsoever and that it shall not alter or modify the written terms or conditions of this contract, nor be considered as orders, directions, or instructions, or binding in any way upon the buyer, and that it shall be considered only as advice and suggestions intended only to aid the buyer in improving his sales, collections, and service to his customers (which advice or suggestions he may follow or not as he may choose), the seller will furnish buyer from time to time with Rawleigh sales service and collection methods, consisting of Rawleigh's Weekly, Rawleigh Methods, and other books, bulletins, service, sales, or collection letters, and other letters and literature; it being intended and mutually agreed that this contract shall be the sole and only binding agreement between the parties hereto, and that it shall not be changed or modified in any way, or by any person, except such change or modification shall be first reduced to writing, signed and agreed to by both parties, and the seal of the seller thereunto affixed, and the buyer in his own proper person. The W. T. Rawleigh Company. Accepted Sep. 30, 1929, by W. T. Rawleigh, President. At Memphis, Tenn. (Corporation Seal). Buyer sign here: Hoke S. Williams. (Seal). P. O. address, Wadley, Ga.
"In consideration of the W. T. Rawleigh Company, the above-named seller, extending credit to the above-named buyer, we, the undersigned, do hereby jointly and severally enter ourselves as sureties, and unconditionally promise, guarantee, and agree to pay *Page 877 
the said seller for all products sold and delivered to the said buyer under the terms of the above contract, hereby expressly consenting and agreeing to all the terms and conditions thereof. We hereby expressly waive notice of the acceptance of this contract, and of the shipment of goods to the buyer, and of extension of credit to the buyer, and of the extension of time in which to pay for the goods so purchased, and waive all notice of any nature whatsoever. We also agree that any statement made by the buyer as to the amount of indebtedness due at any time shall be binding upon us. We also agree that it shall not be necessary for the seller to first exhaust its remedies against the buyer before proceeding to collect from us. This undertaking is to be an open one and shall continue without regard to the residence of the buyer, or the location or manner of conducting his business, until the account is fully paid. It is mutually agreed that this contract is conclusive and binding upon the party or parties who sign it, whether it is signed by any other party or parties or not, and that any statement or representations made to any of the undersigned sureties by any persons either as to who or how many parties will sign this surety agreement, or as to any other matters not fully expressed herein, shall not affect the rights of the seller. It is further understood that there are no conditions or limitations to this undertaking except those written or printed herein at the time of signing hereof, and that after execution no alteration, change or modification shall be made except as provided for in the terms of the foregoing contract between the buyer and seller, and that any notice in any way affecting the rights of the seller must be delivered by registered mail to the seller at its principal office at Memphis, Tenn. Provided, however, that the liability of the sureties shall not exceed one thousand dollars. In witness whereof, we have set our hands and seals in testimony hereof.
(Sureties' names)          (Occupations)     (P. O. addresses)
J. W. Overstreet      (Seal)    Mfgr. Lbr.         Wadley, Ga. J. W. Cato            (Seal)    Merchant           Wadley, Ga. W. T. J. Davis        (Seal)    Merchant           Wadley, Ga.
"Sureties must sign above in person, giving occupation and P. O. address. Please write plainly.
"The above sureties are entitled upon request at any time a statement of buyer's account." *Page 878 
The second contract, dated January 31, 1931, was as follows: "(1) In consideration of the promises of the undersigned buyer the W. T. Rawleigh Company, an Illinois corporation, agrees to sell and deliver f. o. b. Memphis, Tenn., or at any other point or in any other manner agreed upon, such reasonable quantities of its products as the buyer may order at wholesale prices, and on time, and if desired will sell buyer an auto body and/or equipment, or sample cases, for cash or on time; and the buyer in consideration of the above agreements hereby promises to pay seller in full for all such products so sold and delivered under this contract, also agrees to pay any balance due seller at the date of the acceptance of this renewal contract for products previously sold buyer under any and all former contracts by cash or by installment payments satisfactory to seller at invoice prices and according to the terms and conditions thereof, and subject to such cash discounts as may be shown in current discount sheets. (2) It is mutually agreed that either party may terminate this contract by written notice at any time, and when so terminated, all accounts incurred hereunder shall become due and payable immediately. If this contract is not so terminated it shall expire on the 31st day of December, 1941; it being agreed that another renewal contract may be entered into provided business relations are mutually satisfactory and buyer furnishes an acceptable renewal contract. (3) If the business relations be terminated for any reason, the seller reserves the option to purchase within 30 days after such termination any or all of the merchantable products buyer may have on hand at current wholesale prices; provided products are returned promptly by prepaid freight or express to point designated by seller; buyer hereby agreeing to pay seller the actual cost of receiving, overhauling and inspecting same. (4) It is mutually understood and agreed that this is a contract of buyer and seller, and not of agency; and that any sales promotion or service letters or bulletins, advertising matter or other literature that seller may send buyer, shall not change this relationship, nor be considered as orders, instructions or directions, but only as suggestive, educational, and advisory (which the buyer may or may not follow as he may choose), and shall not alter, change, or modify this contract in any way; it being agreed that it can only be changed by consent of both parties in writing: Accepted: The W. T. Rawleigh *Page 879 
Company, by J. E. Stewart. (Seal). Date Jany. 28, 1931. Buyer sign here: H. S. Williams. (Seal). P. O. address Wadley, Ga.
"For and in consideration of the W. T. Rawleigh Company accepting the above contract, or in consideration of the above named seller extending further credit to the said buyer, we, the undersigned, do hereby jointly and severally enter ourselves as sureties, and unconditionally promise, guarantee, and agree to pay said seller for any and all goods, wares, and merchandise sold said buyer under the above and foregoing contract, hereby expressly consenting and agreeing to all the terms, conditions, and provisions thereof; and we also specifically promise to and agree to assume and pay any and all prior indebtedness that may be due and owing said seller on the date of the acceptance of this contract, as shown by seller's books, for any [and] all goods, wares, and merchandise previously sold to said buyer under and by virtue of any and all prior contracts or agreements; hereby binding our heirs, executors, administrators, or assigns. We hereby expressly waive notice of the acceptance of this contract, and of the shipment of goods to the buyer, and of extension of credit to the buyer, and of the extension of time in which to pay for the goods so purchased, and waive all notice of any nature whatsoever. We also agree that any statement made by the buyer as to the amount of indebtedness due at any time shall be binding upon us. We also agree that it shall not be necessary for the seller to first exhaust its remedies against the buyer before proceeding to collect from us. This undertaking is to be an open one and shall continue without regard to the residence of the buyer, or the location or manner of conducting his business until the account is fully paid. It is mutually agreed that this contract is conclusive and binding upon the party or parties who sign it, whether it is signed by any other party or parties or not, and that any statement or representations made to any of the undersigned sureties by any persons either as to who or how many parties will sign this surety agreement, or as to any other matters not fully expressed therein, shall not affect the rights of the seller. It is further understood that there are no conditions or limitations to this undertaking except those written or printed herein at the time of signing hereof, and that after execution no alteration, change, or modification shall be made except as provided for in the terms of the foregoing contract between the buyer *Page 880 
and seller, and that any notice in any way affecting the rights of the seller must be delivered by registered mail to the seller at its office at Memphis, Tenn. In witness whereof we have set our hands and seal in testimony hereof.
(Sureties' names)          (Occupations)     (P. O. addresses)
J. W. Cato        (Seal)    Merchant               Wadley, Ga. T. W. Forbes      (Seal)    U.S. R. R. clerk      Wadley, Ga.
Sureties must sign in person, giving occupation and P. O. address. Please write plainly. The above sureties are entitled upon request at any time to a statement of buyer's account."
1. In their cross-bills the defendants contend: (a) That they are not sureties as contended by the plaintiff, but are guarantors. "A surety binds himself to perform if the principal does not, without regard to his ability to do so. His contract is equally absolute with that of his principal. They may be sued in the same action, and judgment may be entered up against both. A guarantor, on the other hand, does not contract that the principal will pay, but simply that he is able to do so; in other words, a guarantor warrants nothing but the solvency of the principal." Manry v. Waxelbaum Co., supra. If J. W. Overstreet and W. T. J. Davis, the defendants in the court below and the defendants in error in this court, joined in the same promise to pay, and bound themselves with their principal as original promisors, they are debtors from the beginning, are primarily liable, and are sureties. Hartsfield Company v.Robertson, 48 Ga. App. 735 (173 S.E. 201). On the other hand, if they made a separate and individual promise, entirely collateral to the original contract, not imposing any primary liability on them, they are secondarily liable and are guarantors. Section 103-101 of the Code states: "The contract of suretyship is one whereby a person obligates himself to pay the debt of another in consideration of credit or indulgence, or other benefit given to his principal, the principal remaining bound therefor. It differs from a guaranty in this, that the consideration of the latter is a benefit flowing to the guarantor." Thus pointing out one difference between contracts of suretyship and contracts of guaranty. Manry v. Waxelbaum Co.,
supra. "No particular or formal phrase is required to create a contract of suretyship. *Page 881 
Courts may disregard formal expressions, to ascertain the real intent of the parties, and the form of the contract is immaterial, provided the fact of suretyship exists. Code, § 103-104. The mere use of the word `guarantee' will not make a contract one of guaranty." Fields v. Willis, 123 Ga. 272,275 (51 S.E. 280). There is nothing in the instant case, in either the contract or the petition, that indicated that there was any consideration flowing to Overstreet, Cato, and Davis. On the contrary, we think that the pleading, with the contract attached as an exhibit, shows that their undertaking was the evident inducement to the plaintiff, the seller, to enter into the contract with Williams, the principal and buyer. No consideration other than the binding effect of the executory contract between the plaintiff in error and Williams, the principal, which induced Overstreet, Cato, and Davis to sign, is even suggested by the contract. No independent consideration flowed to Overstreet, Cato, and Davis, but the consideration of their contract was the engagement between the plaintiff in error and Williams, the principal. Fields v. Willis, supra. InMcClain v. Georgian Co., 17 Ga. App. 648 (87 S.E. 1090), Judge Russell, speaking for the court, said: "An insurer of the debt is a surety; a guarantor is an insurer of the solvency of the principal debtor or of his ability to pay." In Manry v.Waxelbaum Co., supra, a rule for distinguishing contracts of suretyship and guaranty is stated thus: "The surety says to the creditor, if your debtor will not pay, I will pay. The guarantor says to him, proceed first against the principal, and if he should not be able to pay, then you may proceed against me. It has been said that there is no instance in the books of a guarantor contracting jointly with his principal. Much has been written upon this subject, but we think the above expresses the true distinction between the two classes of contracts." Measured by these rules, we think it is clear that each of the contracts in this case is one of suretyship; and that part of the demurrer, based on the contention that they were guarantors, was properly overruled.
(b) The defendants contend that the contract signed by Forbes and Cato, executed January 31, 1931, released Davis and Overstreet on their contract executed September 30, 1929; that the second contract deprived them of certain rights which they had under the first contract. "For instance, they could have demanded that the *Page 882 
obligee bring suit against Williams. Such an action would have failed because the plaintiff had made a new contract with Williams, having a new maturity date, and the latter could have pleaded it. Certainly, if the principal, Williams, could set up the new agreement to defeat such action, Overstreet and Davis can. Likewise, the latter are placed in such position, they have no way to protect themselves other than to rely on sections 103-202 and 103-203 of the Code," which are as follows: "Any change in the nature or terms of a contract is called a novation; such novation, without the consent of the surety, discharges him. Any act of the creditor, either before or after judgment against the principal, which injuries the surety or increases his risk, or exposes him to greater liability, shall discharge him; a mere failure by the creditor to sue as soon as the law allows, or neglect to prosecute with vigor his legal remedies, unless for a consideration, shall not release the surety." We recognize the rule that the undertaking of the surety being stricti juris, he can not, either in law or equity, be bound further or otherwise than he is by the very terms of his contract. Bethune v.Dozier, 10 Ga. 235; Stearns on the Law of Suretyship (4th ed.), p. 100. The second contract was not a novation of the first contract within the meaning of the Code, § 103-202. The second contract was not inconsistent with the first, and did not increase the risk of the sureties so as to release them under the provision of section 103-203 of the Code. The second contract simply amounted to giving the seller additional security for the payment of the debt. As to the maturity date for the payment of the goods and merchandise sold under the first contract, if any part of the account arising under the first contract was due and the maturity date for its payment had arrived before the execution of the second contract, the seller could have sued immediately after the execution of the second contract in like manner as he could have sued immediately before its execution. Thus we think that the second contract did not postpone the due date of any of the articles sold under the first contract. In the present suit the plaintiff was seeking to enforce payment for merchandise for which the sureties under the first contract were obligated to pay. The plaintiff was not seeking to bind the sureties on any obligation arising under the second contract, while the sureties in the second contract also obligated themselves to pay for the goods obtained *Page 883 
under the first contract by the same buyer. There was no extension of time granted for the payment of the goods obtained under the first contract — the purchaser merely obtained more sureties for the goods obtained under the first contract irrespective of what might transpire under the second contract.
(c) The defendant contends that a "suit upon a written contract, as set out in the petition, securing an open account itemized therein, is not amendable by alleging an account stated between the seller and purchaser." A party may always join with an account stated a count for the original debt, and if he fails on the one he might recover on the other. Goings v.
Patten, 17 Abbott (N. Y. P. R.) 339, 341. The court here did not err in allowing the amendment over the sole objection that the amendment set out a new and distinct cause of action. SinclairRefining Co. v. Scott, 60 Ga. App. 76 (2 S.E.2d 755).
2. The plaintiff in the main bill contends that the court erred in ruling out its books of account and twenty-eight letters which bore the name of the buyer and were received in due course of mail by the seller. The defendants contend that the plaintiff sought to prove an open account by hearsay evidence, and that such evidence was properly excluded. They further contend that the written evidence introduced in an attempt to prove an account stated was mere written hearsay for the reason that there was no proof that the debtor or customer executed it, i. e., that it was his signature to the writing which acknowledged the account and promised to pay it. On the question of proving the account the plaintiff tendered in evidence its "shop book" which was excluded; and also tendered in evidence twenty-eight letters which were also excluded. These letters contained orders for articles of merchandise, and acknowledged the receipt, delivery, and correctness of the charges of previous articles of merchandise involved in the account sued on. The letters bore the name of the buyer, and were received in due course of mail by the seller, most of them being in response to letters written by the seller (the plaintiff).
These "shop books" and the letters which contained the written orders acknowledged the receipt of the goods ordered and the correctness of charges previously made in the account sued on, and were excluded from evidence on the ground that they were hearsay — that the witness testifying had never seen the debtor write *Page 884 
his name or heard him acknowledge his signature. In 1 Greenleaf on Evidence (15th ed.), pp. 721-723, it is said: "There are twomodes of acquiring this knowledge of the handwriting of another, either of which is universally admitted to be sufficient, to enable a witness to testify to its genuineness. The first is from having seen him write. It is held sufficient for this purpose, that the witness has seen him write but once, and then only his name. The proof in such case may be very light; but the jury will be permitted to weigh it. (a) The second mode is, from having seen letters, bills, or other documents, purporting to be the handwriting of the party, and having afterwardspersonally communicated with him respecting them; (b) or actedupon them as his, the party having known and acquiesced in such acts, founded upon the supposed genuineness; or, by suchadoption of them into the ordinary business transactions of life, as induces a reasonable presumption of their being his own writings; evidence of the identity of the party being of course added aliunde, if the witness be not personally acquainted with him. (c) In both these cases, the witness acquires his knowledge by his own observation of facts, occurring under his own eye, and, which is especially to be remarked, without having regard to any particular person, case, or document." In Pearson v.McDaniel, 62 Ga. 101 (supra), "McDaniel sued out an attachment against Pearson  Co., for the purchase-money of eggs shipped by him to them at New York. On the trial the condition of the eggs was a disputed question. Plaintiff tendered in evidence a letter from defendants acknowledging the receipt of the eggs in apparent good order; the basis of its admission was plaintiff's evidence that he never saw defendants sign their names, or heard them acknowledge this signature, but that he was acquainted with their handwriting from previous business correspondence with them, and from this knowledge the letter was in their handwriting. It was admitted, and this was the main ground of exception." Our Supreme Court said: "It is said that the letters were improperly admitted. We think not. Proof was made that from correspondence with the firm the witness was acquainted with the handwriting, and that the letters were theirs, received by due course of mail. This was enough to admit them;" and stated the rule as follows: "Where a witness testifies that from business correspondence he is acquainted *Page 885 
with the handwriting of the writer of a letter received by due course of mail, such testimony is enough to carry the letter to the jury as evidence, and the court was right to admit it." H. P. Ousley testified that he was vice-president and general sales manager of the W. T. Rawleigh Company, had been vice-president in charge of sales for the past fourteen years, but had been with the company for over twenty-five years as sales director and sales manager; that his duties, among other things, were to have general charge of the sales of the company to its customers, see that their contracts were investigated and properly approved, to supervise the sales the company makes to its customers, and see that shipments of merchandise ordered were promptly made and the account given proper credits; and that he was acquainted with the handwriting of the customer. This testimony was sufficient, in the instant case, to carry the letters to the jury in order that they might determine the question as to whether the signature to the letters was that of the buyer in question.
The books of the plaintiff, which were ruled out of the evidence, contained the account of the customer in question and should have been admitted on behalf of the plaintiff, there having been proof that the books tendered were books of original entry by the persons whose duty it was to record, and who did record, the entries therein in the regular course of business. The auditor of the company testified in effect, that he inspected the books, and that they were regularly and properly kept in the course of business, and that there was no appearance on the face of the account, as kept in the books, which would make them incompetent. And, if the twenty-eight letters, with their accompanying and attached admissions, which were a part of the letters, had not been excluded from the evidence when tendered, the jury would have been authorized to find that the customer had acknowledged or admitted that his account was correctly kept in the books of the plaintiff; and if the jury found that these letters with their admissions of the correctness of the items of the account were signed by the buyer, this would have been, at least, the equivalent of proving, in so far as the buyer in this case was concerned, that the plaintiff, the seller, kept correct books, and that they were free from the suspicion of fraud.Crump v. Bank of Toccoa, 41 Ga. App. 505, 506 (supra);Taylor v. Tucker, 1 Ga. 231, 234 (4). In Crump *Page 886 
v. Bank of Toccoa, Judge Bell said: "What was introduced was not really a book in the ordinary sense, but consisted of detachable sheets taken from a `loose-leaf ledger' and contained a record of the account between the parties. These documents, however, will be treated as a book, and, for convenience herein, will be called a book, since such leaves or sheets may be removed from the ledger containing them and introduced in evidence upon the same footing and under the same principles as are applicable to the introduction of books of account, where the proper foundation of such evidence is otherwise laid. It is immaterial whether the original entries of the account be made in a book or on separate sheets of paper, the requirement as to this matter being that the document shall comprise an account of the dealings between the parties and shall be primary and original." This language is applicable to the facts in the instant case, and the court erred in not allowing these books to be introduced in evidence. The ledger sheets here are books of original entry, and were admissible in evidence as the books of original entry. It was also permissible for the plaintiff to introduce in evidence, over the objection that they were hearsay, the letters containing the original orders signed by the customer, and the acknowledgment of the delivery of the articles previously ordered, by acknowledging that these articles were correctly charged in the account rendered, which account rendered corresponded with the ledger sheets tendered in evidence and with the account now sued on. The exclusion of the letters was harmful error.
The court admitted in evidence letters, or parts thereof, which stated: "Notice: If the above balance is correct, please sign the following account stated and return immediately. If not correct, furnish us a statement of your debits and credits and point out claimed errors if any: Account Stated. Dated January 20, 1931. The W. T. Rawleigh Company, dear Sirs: I have examined the December statement of account and find the balance of $774.80 to be the correct balance due the company at the close of business Dec. 31, 1930, which balance I agree to pay according to the terms of my contract. H. S. Williams."
The defendants contended that the signature to these letters or documents, which purported to be accounts stated, was never proved to have been the signature of the buyer, and now claims that these documents, although tendered in evidence, are but *Page 887 
written hearsay, and that hearsay evidence has no probative value, whether introduced with or without objection, and that thus there was no legal evidence which would here support a finding that there was an account stated. We think the tendered evidence which should have been allowed was sufficient to carry to the jury the question as to whether the customer (buyer) signed the documents.
A party may fail to establish an account stated, but that does not cut him off from establishing an unsettled or open account. The account stated does not alter the nature of the debt, it only reduces it to a certainty. A party may always join with an account stated a count for the original debt, and, if he failed upon one, he might recover upon the other. Here the original petition merely sued on an account and attached thereto an itemized statement of the account as a part thereof. Thereafter, without striking any part of the open-account feature of the petition, the defendant amended its petition and sought a recovery also upon an account stated. No objection was made to the form of the amendment and the court did not err in allowing it over the sole objection that the amendment set out a new and distinct form of action. In this state of the pleading the petition entitled the plaintiff to prove an account stated, i. e., that there was an agreement between the seller and the buyer who had had previous transactions fixing the amount due in respect to such transactions and promising payment, or failing in that, to show an unsettled or open account and an indebtedness to the plaintiff. Ward v. Stewart, 103 Ga. 260, 262
(29 S.E. 872). It would have been entirely consistent with the plaintiff's claim of an account stated for the plaintiff to have furnished a copy of the account upon which it meant to rely in the event of failure to prove the account stated. Goings v. Patten, supra. In the instant case such a copy had been furnished the defendants by serving them with a copy of the original petition to which was attached an itemized statement of the open account as a part thereof. Thus the plaintiff pleaded both forms of indebtedness, and the defendants being thus notified were bound to come prepared upon the trial to dispute both the account stated and the unsettled or open account. Johnson v. Tying, 1 A.D. 516
(37 N. Y. Supp. 610). In the present state of the pleadings and with the account book and letters, which were *Page 888 
improperly excluded, in evidence, if the jury should determine under the above rules that the letters and documents, which were a part thereof, were signed by the buyer, one phase of the evidence would authorize a verdict in favor of the plaintiff on the theory that the open account had been proved. The court having committed harmful error in excluding the "shop book" and the letters or documents in question, the case must be returned for another trial.
3. There are other questions in the record but the foregoing rulings are upon the controlling questions in the case, and, under these rulings, a new trial must be granted.
Judgment reversed on the main bill of exceptions; andjudgments on the cross-bills affirmed. Broyles, C. J., andGardner, J., concur.